Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.992 Filed 02/22/23 Page 1 of 80




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


MARK W. DOBRONSKI,                             Case No. 2:22-cv-12039-DPH-JJCG
an individual,
                                               Honorable Denise Page Hood
                   Plaintiff,                  United States District Judge

v.                                             Honorable Jonathan J.C. Grey
                                               United States Magistrate Judge
FAMILY FIRST LIFE, LLC,
a Connecticut limited liability company,

UNITED OF OMAHA LIFE
INSURANCE COMPANY,
a Nebraska corporation,

AMERICO FINANCIAL LIFE AND
ANNUITY INSURANCE COMPANY,
a Texas corporation,

GREAT WESTERN INSURANCE
COMPANY, an Iowa corporation,

YOUR SENIOR CARE INC.,
a California corporation,

KHONSAVAN VONGDARA,
an individual,

LEWIS JAN FRIEDMAN,
a/k/a LUKE FRIEDMAN,
an individual,



                                           1
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.993 Filed 02/22/23 Page 2 of 80




SHANNON ADAMS
a/k/a CLAUDIA SHANNON ADAMS,
an individual,

DONTE C. GRANT,
an individual,

OLIVIA PEREZ,
an individual,

VANINA E. BONANNO,
an individual,

VANESSA ISABEL POWELL,
an individual,

EMMANUEL CHIBUZOR IGWEH,
an individual,

DARIO JOSEPH WICKHAM,
an individual,

BLAKE HUNTER SCHEIFELE,
an individual,

PAUL RYAN CHRISTLE,
an individual, and

GRETCHEN LOUISE DROUHARD,
an individual,

                Defendants.
____________________________________________________________________

                     FIRST AMENDED COMPLAINT

      NOW COMES the Plaintiff, MARK W. DOBRONSKI, appearing in propria


                                      2
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.994 Filed 02/22/23 Page 3 of 80




persona, and for his complaint against Defendants alleges:

      1. This matter arises under the Telephone Consumer Protection Act of 1991

(“TCPA”), 47 U.S.C. § 227, et seq., the Michigan Telephone Companies as Common

Carriers Act (“MTCCCA”), M.C.L. § 484.101, et seq., the Michigan Home

Solicitation Sales Act (“MHSSA”), M.C.L. § 445.101, et seq., and the Michigan

Consumer Protection Act (“MCPA”), M.C.L. § 445.901, et seq.

                                       Parties

      2. Plaintiff is an individual, of the age of majority, a citizen of the United

States of America, has a place of business and residence in Lima Township,

Washtenaw County, Michigan, and has a place of business in the City of Westland,

Wayne County, Michigan.

      3. Upon information and belief, Defendant FAMILY FIRST LIFE, LLC

(“FFL”), is a limited liability company organized and existing under the laws of the

State of Connecticut, with a principal office being located at 80 Norwich-New

London Turnpike, Uncasville, Connecticut 06382.

      4. Upon information and belief, Defendant UNITED OF OMAHA LIFE

INSURANCE COMPANY (“United”) is a life and health insurer organized and

existing under the laws of the state of Nebraska, that is qualified to do business and

does business in the state of Michigan as an insurance company, and has a resident


                                          3
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.995 Filed 02/22/23 Page 4 of 80




agent in the state of Michigan with a registered office located at 2900 West Road,

Suite 500, East Lansing, Michigan 48823.

      5. Upon information and belief, Defendant AMERICO FINANCIAL LIFE

AND ANNITY INSURANCE COMPANY (“Americo”) is a life and health insurer

organized and existing under the laws of the state of Texas, that is qualified to do

business and does business in the state of Michigan as an insurance company, and has

a resident agent in the state of Michigan with a registered office located at 40600 Ann

Arbor Road, East, Suite 201, Plymouth, Michigan 48170.

      6. Upon information and belief, Defendant GREAT WESTERN INSURANCE

COMPANY (“Western”) is a corporation organized and existing under the laws of

the state of Iowa, that is qualified to do business and does business in the state of

Michigan as an insurance company, and has a resident agent in the state of Michigan

with a registered office located at 2900 West Road, Suite 500, East Lansing,

Michigan 48823.

      7. Upon information and belief, Defendant YOUR SENIOR CARE INC.,

(“YSC”) is a corporation organized and existing under the laws of the state of

California, and has a principal office located at 921 Ormsby Street, Vista, California

92084.

      8. Upon information and belief, Defendant KHONSAVAN VONGDARA


                                          4
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.996 Filed 02/22/23 Page 5 of 80




(“Vongdara”) is an individual, of the age of majority, is mentally competent, is not

in the military service, resides at 339 Summer Springs Court, Jacksonville, Florida

32225, holds himself out as being a manager for Defendant FFL, and holds himself

out as being an agent for Defendants Omaha, Americo, and Western.

      9. Upon information and belief, Defendant LEWIS JAN FRIEDMAN

(“Friedman”) is also known as “Luke” Friedman, is an individual, of the age of

majority, is mentally competent, is not in the military service, resides at 609 Hunter

Street, Oceanside, California 92058-1606, holds himself out as the owner of

Defendant YSC, and holds himself as being an agent for Defendants Americo and

Western.

      10. Upon information and belief, Defendant SHANNON ADAMS (“Adams”),

is also known as Claudia Shannon Adams, is an individual, of the age of majority, is

mentally competent, is not in the military service, resides at 2 Blake Drive, Fairfield,

Connecticut 06824, and holds herself out as being employed by Defendant FFL and

as being an agent for Defendant Americo.

      11. Upon information and belief, Defendant DONTE C. GRANT (“Grant”) is

an individual, of the age of majority, is mentally competent, is not in the military

service, resides at 66 Myrtle Avenue, North Plainfield, New Jersey 07060, and holds

himself out as an employee of Defendant FFL and an agent for Defendants United


                                           5
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.997 Filed 02/22/23 Page 6 of 80




and Americo.

      12. Upon information and belief, Defendant OLIVIA PEREZ (“Perez”) is an

individual, of the age of majority, is mentally competent, is not in the military service,

residents at 801 Felix Avenue North, Lehigh Acres, Florida 33971, and holds herself

out as an employee of Defendant FFL and an agent for Defendants United and

Americo.

      13.    Upon information and belief, Defendant VANINA E. BONANNO

(“Bonanno”) is an individual, of the age of majority, is mentally competent, is not in

the military service, resides at 60 Shale Hill Road, Sussex, New Jersey 07461, and

holds herself out as an employee of Defendant FFL and an agent for Defendant

United.

      14. Upon information and belief, Defendant VANESSA ISABEL POWELL

(“Powell”) is an individual, of the age of majority, is mentally competent, is not in the

military service, resides at 9051 East Winchcomb Drive, Scottsdale, Arizona 85260-

7006, and holds herself out as an employee of Defendant FFL and an agent for

Defendant United.

      15. Upon information and belief, Defendant EMMANUEL CHIBUZOR

IGWEH (“Igweh”) is an individual, of the age of majority, is mentally competent, is

not in the military service, resides at 10619 Northwest 43rd Street, Sunrise, Florida


                                            6
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.998 Filed 02/22/23 Page 7 of 80




33351-8337, and holds himself out as an employee of Defendant FFL and an agent

for Defendants Americo and United.

      16. Upon information and belief, Defendant DARIO JOSEPH WICKHAM

(“Wickham”) is an individual, of the age of majority, is mentally competent, is not in

the military service, resides at 517 Ralph Avenue, #2, Brooklyn, New York 11233-

4999, and holds himself out as an agent of Defendant Americo.

      17. Upon information and belief, Defendant BLAKE HUNTER SCHEIFELE

(“Scheifele”) is an individual, of the age of majority, is mentally competent, is not in

the military service resides at 227 Sweet Bay Circle, Jupiter, Florida 33458-2819,

himself out as a manager at Defendant FFL, and holds himself out as an agent of,

inter alia, Defendant Western.

      18. Upon information and belief, Defendant PAUL RYAN CHRISTLE

(“Christle”) is an individual, of the age of majority, is mentally competent, is not in

the military service resides at 7843 154th Court North, West Palm Beach, Florida

33418-7364, holds himself out as an employee or agent of Defendant FFL, and holds

himself out as an agent of, inter alia, Defendants Western and Omaha.

      19.    Upon information and belief, Defendant GRETCHEN LOUISE

DROUHARD (“Drouhard”) is an individual, of the age of majority, is mentally

competent, is not in the military service resides at 1300 East Meadowlark Boulevard,


                                           7
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.999 Filed 02/22/23 Page 8 of 80




Apartment 32-203 Derby, Kansas 67037-9508, holds herself out as an employee or

agent of Defendant FFL, and holds herself out as an agent of Defendant Omaha.

                                      Jurisdiction

      20. This Court has jurisdiction over the subject matter of this complaint

pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1367.

      21. This Court has limited personal jurisdiction over Defendants FFL, United,

Americo, Western, and YSC pursuant to M.C.L. § 600.715, as a result of the

defendant transacting any business within the state; and/or doing or causing any act

to be done, or consequences to occur, in the state resulting in an action for tort; and/or

contracting to insure any person, property, or risk located within this state at the time

of contracting.

      22. In addition, Defendants United, Americo, and Western are each licensed,

pursuant to M.C.L. § 500.402, et seq., by the Michigan Department of Insurance and

Financial Services (“MDIFS”) to act as insurers and to transact insurance in the state

of Michigan.

      23. This Court has limited personal jurisdiction over Defendants Vongdara,

Friedman, Adams, Grant, Perez, Bonanno, Powell, Igweh, Wickham, Schiefele,

Christle, and Drouhard pursuant to M.C.L. § 600.705, as a result of the defendant

transacting any business within the state; and/or doing or causing any act to be done,


                                            8
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1000 Filed 02/22/23 Page 9 of 80




 or consequences to occur, in the state resulting in an action for tort; and/or

 contracting to insure any person, property, or risk located within this state at the time

 of contracting.

        24. In addition, Defendants Vongdara, Friedman, Adams, Grant, Bonanno,

 Powell, Igweh, Wickham, Scheifele, Christle, and Drouhard each are licensed,

 pursuant to M.C.L. § 500.1201a, et seq., by the MDIFS to act as insurance producers

 to sell, solicit, and negotiate insurance in the state of Michigan.

                                         Venue

        25. Venue is proper in this Court, pursuant to 28 U.S.C. § 1391(b)(2), as the

 tortious or illegal telephone calls complained of herein were received in this judicial

 district.

                               The Telemarketing Laws

        26. In response to widespread public outrage over intrusive telemarketing calls

 to homes and businesses, the United States Congress acted to prevent entities, like

 Defendant, from invading American citizen’s privacy and to prevent abusive “robo-

 calls” by enacting the TCPA.

        27.   According to the Federal Communications Commission (“FCC”),

 “Unwanted calls and texts are the number one complaint to the FCC. There are

 thousands of complaints to the FCC every month on both telemarketing and


                                             9
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1001 Filed 02/22/23 Page 10 of 80




 robocalls.”

       28. Congress explicitly found that robo-calling is an invasion of privacy.

       29. In regard to such telephone solicitations, Senator Hollings of South

 Carolina, the primary sponsor of the bill, explained, “computerized calls are the

 scourge of modern civilization. They wake us up in the morning; they interrupt our

 dinner at night; they force the sick and elderly out of bed; they hound us until we

 want to rip the telephone right out of the wall... these computerized telephone calls

 threaten our personal safety... These machines are out of control, and their use is

 growing by 30 percent every year. It is telephone terrorism, and it has got to stop....”

 See In the Matter of Rules and Regulations Implementing the Telephone Consumer

 Protection Act of 1991, 17 FCC Rcd. 17459, 17474, fn. 90 (2002), quoting 137 Cong.

 Rec. 30,821-30,822 (Nov. 7, 1991).

       30. According to YourMail, Inc., a company which tracks robocall activity and

 publishes the YouMail Robocall Index, during calendar year 2021 alone, American

 consumers were bombarded with over 50.5 billion robocalls; an average of over 150

 robocalls to each man, woman, and child. [Source: www.robocallindex.com ].

       31. In 2021, nearly 1 in 3 Americans say they have fallen victim to a phone

 scam in the past year, with reported losses to phone scams exceeding $29.8 Billion.

 [Source: www.cndb.com/2021/06/29/americans-list-billions-of-dollars-to-phone-


                                            10
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1002 Filed 02/22/23 Page 11 of 80




 scams-over-the-past-year.html ].

        32. Congress has found that interstate telemarketing fraud has become a

 problem of such magnitude that the resources of the Government are not sufficient

 to ensure adequate consumer protection from such fraud.

        33. As a result, in enacting the TCPA, Congress intentionally created a legally

 enforceable bounty system, not unlike qui tam statutes, to incentivize the assistance

 of aggrieved private citizens to act as “private attorneys general” in enforcing federal

 law.

        34. The TCPA, at 47 U.S.C. § 227(b), promulgates in relevant part as follows:

              “Restrictions on use of automated telephone equipment

              (1) Prohibitions It shall be unlawful for any person within
              the United States, or any person outside the United States
              if the recipient is within the United States—

              (A) to make any call (other than a call made for emergency
              purposes or made with the prior express consent of the
              called party) using any automatic telephone dialing system
              or an artificial or prerecorded voice— ...

              (iii) to any telephone number assigned to a paging service,
              cellular telephone service, specialized mobile radio service,
              or other radio common carrier service, or any service for
              which the called party is charged for the call, unless such
              call is made solely to collect a debt owed to or guaranteed
              by the United States;

              (B) to initiate any telephone call to any residential
              telephone line using an artificial or prerecorded voice to

                                            11
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1003 Filed 02/22/23 Page 12 of 80




              deliver a message without the prior express consent of the
              called party, unless the call is initiated for emergency
              purposes, is made solely pursuant to the collection of a
              debt owed to or guaranteed by the United States, or is
              exempted by rule or order by the Commission under
              paragraph (2)(B)....”

       35. Pursuant to authority delegated by Congress to the FCC under the TCPA

 at 47 U.S.C. § 227(b)(2), the FCC has adopted regulations to implement and carry out

 the TCPA.

       36. The TCPA implementing regulations, at 47 C.F.R. § 64.1200, promulgate

 in relevant part:

              “(a) No person or entity may:

              (1) Except as provided in paragraph (a)(2) of this section,
              initiate any telephone call (other than a call made for
              emergency purposes or is made with the prior express
              consent of the called party) using an automatic telephone
              dialing system or an artificial or prerecorded voice; ...

              (iii) To any telephone number assigned to a paging service,
              cellular telephone service, specialized mobile radio service,
              or other radio common carrier service, or any service for
              which the called party is charged for the call...

              (2) Initiate, or cause to be initiated, any telephone call that
              includes or introduces an advertisement or constitutes
              telemarketing, using an automatic telephone dialing system
              or an artificial or prerecorded voice, to any of the lines or
              telephone numbers described in paragraphs (a)(1)(i)
              through (iii) of this section, other than a call made with the
              prior express written consent of the called party or the prior
              express consent of the called party when the call is made

                                            12
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1004 Filed 02/22/23 Page 13 of 80




             by or on behalf of a tax-exempt nonprofit organization, or
             a call that delivers a “health care” message made by, or on
             behalf of, a “covered entity” or its “business associate,” as
             those terms are defined in the HIPAA Privacy Rule, 45
             CFR 160.103.

             (3) Initiate any telephone call to any residential line using
             an artificial or prerecorded voice to deliver a message
             without the prior express written consent of the called
             party, unless the call;

             (i) Is made for emergency purposes;

             (ii) Is not made for a commercial purpose;

             (iii) Is made for a commercial purpose but does not include
             or introduce an advertisement or constitute telemarketing;

             (iv) Is made by or on behalf of a tax-exempt nonprofit
             organization; or

             (v) Delivers a “health care” message made by, or on behalf
             of, a “covered entity” or its “business associate,” as those
             terms are defined in the HIPAA Privacy Rule, 45 CFR
             160.103...

             (d) No person or entity shall initiate any call for
             telemarketing purposes to a residential telephone
             subscriber unless such person or entity has instituted
             procedures for maintaining a list of persons who request
             not to receive telemarketing calls made by or on behalf of
             that person or entity. The procedures instituted must meet
             the following minimum standards:

             (1) Written policy. Persons or entities making calls for
             telemarketing purposes must have a written policy,
             available upon demand, for maintaining a do-not-call list.


                                          13
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1005 Filed 02/22/23 Page 14 of 80




             (2) Training of personnel engaged in telemarketing.
             Personnel engaged in any aspect of telemarketing must be
             informed and trained in the existence and use of the
             do-not-call list.

             (3) Recording, disclosure of do-not-call requests. If a
             person or entity making a call for telemarketing purposes
             (or on whose behalf such a call is made) receives a request
             from a residential telephone subscriber not to receive calls
             from that person or entity, the person or entity must record
             the request and place the subscriber's name, if provided,
             and telephone number on the do-not-call list at the time the
             request is made. Persons or entities making calls for
             telemarketing purposes (or on whose behalf such calls are
             made) must honor a residential subscriber's do-not-call
             request within a reasonable time from the date such request
             is made. This period may not exceed thirty days from the
             date of such request. If such requests are recorded or
             maintained by a party other than the person or entity on
             whose behalf the telemarketing call is made, the person or
             entity on whose behalf the telemarketing call is made will
             be liable for any failures to honor the do-not-call request.
             A person or entity making a call for telemarketing purposes
             must obtain a consumer's prior express permission to share
             or forward the consumer's request not to be called to a
             party other than the person or entity on whose behalf a
             telemarketing call is made or an affiliated entity.

             (4) Identification of sellers and telemarketers. A person or
             entity making a call for telemarketing purposes must
             provide the called party with the name of the individual
             caller, the name of the person or entity on whose behalf the
             call is being made, and a telephone number or address at
             which the person or entity may be contacted. The telephone
             number provided may not be a 900 number or any other
             number for which charges exceed local or long distance
             transmission charges. . .


                                          14
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1006 Filed 02/22/23 Page 15 of 80




               (6) Maintenance of do-not-call lists. A person or entity
               making calls for telemarketing purposes must maintain a
               record of a consumer's request not to receive further
               telemarketing calls. A do-not-call request must be honored
               for 5 years from the time the request is made. . . .”

       37. The TCPA implementing regulations at, 47 C.F.R. § 64.1601, additionally

 promulgate in relevant part:

               “(e) Any person or entity that engages in telemarketing, as
               defined in section 64.1200(f)(10) must transmit caller
               identification information.

               (1) For purposes of this paragraph, caller identification
               information must include either CPN or ANI, and,
               when available by the telemarketer's carrier, the name
               of the telemarketer. It shall not be a violation of this
               paragraph to substitute (for the name and phone number
               used in, or billed for, making the call) the name of the
               seller on behalf of which the telemarketing call is placed
               and the seller's customer service telephone number. The
               telephone number so provided must permit any
               individual to make a do-not-call request during regular
               business hours.

               (2) Any person or entity that engages in telemarketing is
               prohibited from blocking the transmission of caller
               identification information.” [Emphasis added.]

       38. The TCPA, at 47 U.S.C. § 227(b)(3), provides for a private right of action,

 as follows:

               “PRIVATE RIGHT OF ACTION. A person or entity
               may, if otherwise permitted by the laws or rules of court of
               a State, bring in an appropriate court of that State –


                                            15
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1007 Filed 02/22/23 Page 16 of 80




              (A) an action based on a violation of this subsection or the
              regulations prescribed under this subsection to enjoin
              such violation,

              (B) an action to recover for actual monetary loss from such
              a violation, or to receive $500 in damages for each such
              violation, whichever is greater, or

              (C) both such actions.

              If the court finds that the defendant willfully or knowingly
              violated this subsection or the regulations prescribed under
              this subsection, the court may, in its discretion, increase the
              amount of the award to an amount equal to not more than
              3 times the amount available under subparagraph (B) of
              this paragraph.” [Emphasis added.]

       39. Pursuant to Congressional mandate set forth at 47 U.S.C. § 227(c)(1), the

 FCC adopted regulations establishing a national “do not call” database and

 prohibiting any person from making or transmitting a telephone solicitation to the

 telephone number of any subscriber included in such database, which regulations are

 set forth at 47 C.F.R. § 64.1200(c), and promulgate in relevant part:

              “No person or entity shall initiate any telephone
              solicitation to:...

              “(2) A residential telephone subscriber who has registered
              his or her telephone number on the national do-not-call
              registry of persons who do not wish to receive telephone
              solicitations that is maintained by the Federal
              Government....”

       40. Additionally, the TCPA, at 47 U.S.C. § 227(c)(5), provides for a private


                                            16
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1008 Filed 02/22/23 Page 17 of 80




 right of action, as follows:

              “Private right of action. A person who has received more
              than one telephone call within any 12-month period by or
              on behalf of the same entity in violation of the regulations
              prescribed under this subsection may, if otherwise
              permitted by the laws or rules of court of a State bring in an
              appropriate court of that State—

              (A) an action based on a violation of the regulations
              prescribed under this subsection to enjoin such violation,

              (B) an action to recover for actual monetary loss from such
              a violation, or to receive up to $500 in damages for each
              such violation, whichever is greater, or

              (C) both such actions.

              It shall be an affirmative defense in any action brought
              under this paragraph that the defendant has established and
              implemented, with due care, reasonable practices and
              procedures to effectively prevent telephone solicitations in
              violation of the regulations prescribed under this
              subsection. If the court finds that the defendant willfully or
              knowingly violated the regulations prescribed under this
              subsection, the court may, in its discretion, increase the
              amount of the award to an amount equal to not more than
              3 times the amount available under subparagraph (B) of
              this paragraph.”

       41. The “do not call” proscriptions also are applicable to cellular or wireless

 telephone numbers, as set forth at 47 C.F.R. § 64.1200(e), which states:

              “The rules set forth in paragraph (c) and (d) in this section
              are applicable to any person or entity making telephone
              solicitations or telemarketing calls to wireless telephone
              numbers....”

                                            17
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1009 Filed 02/22/23 Page 18 of 80




       42. The FCC has declared that telephone subscribers who have listed their

 wireless telephone number on the national do-not-call list are deemed to be

 “residential subscribers”. See In the Matter of Rules and Regulations Implementing

 the Telephone Consumer Protection Act of 1991, 18 FCC Rcd. 14014, 14039, ¶ 36

 (2003).

       43. The MTCCCA, at M.C.L. § 484.125, promulgates in relevant part as

 follows:

             “(2) A caller shall not use a telephone line to contact a
             subscriber at the subscriber’s residence, business, or toll-
             free telephone number to do either of the following: ...

             (a) Deliver a recorded message for the purpose of
             presenting commercial advertising to the subscriber, unless
             either of the following occurs:

             (i) The subscriber has knowingly and voluntarily requested,
             consented, permitted, or authorized the contact from the
             caller.

             (ii) The subscriber has knowingly and voluntarily provided
             his or her telephone number to the caller.

             (b) Deliver or attempt to deliver intrastate commercial
             advertising if the caller activates a feature to block the
             display of caller identification information that would
             otherwise be available to the subscriber...

             (5) A subscriber contacted by a caller in violation of this
             section may bring an action to recover damages of
             $1,000.00, together with reasonable attorneys' fees...

                                          18
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1010 Filed 02/22/23 Page 19 of 80




             (9) A caller who violates this section is guilty of a
             misdemeanor, punishable by a fine of $1,000.00 or
             imprisonment for 10 days, or both.”

       44. The MHSSA, at M.C.L. § 445.111a(5), promulgates:

             “. . . A telephone solicitor shall not make a telephone
             solicitation to a residential telephone subscriber whose
             name and residential telephone number is on the
             then-current version of the federal [do-not-call] list.”

       45. The MHSSA, at M.C.L. § 445.111b, promulgates in relevant part:

             “(1) At the beginning of a telephone solicitation, a person
             making a telephone solicitation to a residential telephone
             subscriber shall state his or her name and the full name of
             the organization or other person on whose behalf the call
             was initiated and provide a telephone number of the
             organization or other person on request. A natural person
             must be available to answer the telephone number at any
             time when telephone solicitations are being made....”

       46. The MHSSA, at M.C.L. § 445.111c, promulgates in relevant part as

 follows:

             “(1) It is an unfair or deceptive act or practice and a
             violation of this act for a telephone solicitor to do any of
             the following:...

             (f) Fail to comply with the requirements of section 1a or
             1b.

             (2) ... [A] person who knowingly or intentionally violates
             this section is guilty of a misdemeanor punishable by
             imprisonment for not more than 6 months or a fine of not
             more than $500.00, or both.

                                          19
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1011 Filed 02/22/23 Page 20 of 80




               (3) A person who suffers loss as a result of violation of this
               section may bring an action to recover actual damages or
               $250.00, whichever is greater, together with reasonable
               attorney fees.”

        47. Plaintiff’s residential and cellular telephone lines have been besieged with

 telemarketing calls hawking such things as alarm systems, Google listings,

 automobile warranties, health insurance, life insurance, credit cards, and even

 financial miracles from God.        Some calls are blatant scams, including calls

 purportedly from the Social Security Administration, the U.S. Drug Enforcement

 Administration, and other government agencies, claiming that arrest warrants have

 been issued against Plaintiff for alleged drug trafficking and money laundering

 activities.

        48. Plaintiff’s residential telephone numbers are ***-***-0222, ***-***-1000,

 ***-***-1212 and ***-***-2424.

        49. Plaintiff’s cellular telephone number is ***-***-9671.

        50. Plaintiff utilizes his cellular telephone primarily for personal, family, and

 household use.

        51. Plaintiff’s residential telephone numbers ***-***-1212 and ***-***-2424,

 and Plaintiff’s cellular telephone number ***-***-9671, are each listed on the

 National Do Not Call Registry maintained by the United States Federal Trade

 Commission pursuant to 16 C.F.R. Part 310 and have been so listed continuously

                                             20
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1012 Filed 02/22/23 Page 21 of 80




 since at least December 9. 2004 and at all times subsequent thereto.

       52. Plaintiff’s residential telephone number ***-***-0222 is listed on the

 National Do Not Call Registry maintained by the United States Federal Trade

 Commission pursuant to 16 C.F.R. Part 310 and have been so listed continuously

 since at least August 24, 2022 and at all times subsequent thereto.

       53. By listing his residential and cellular telephone numbers on the National

 Do Not Call Registry, Plaintiff has given constructive notice to the world, including

 each and every one of the Defendants, that Plaintiff does not wish to receive

 telephone solicitations or robocalls at his residential and/or cellular telephone

 numbers.

       54. The FCC has issued a declaratory ruling defining “called party” as “the

 subscriber, i.e., the consumer assigned the telephone number dialed and billed for the

 call, or the non-subscriber customary user of a telephone number included in a

 family or business calling plan.” In the Matter of Rules & Regulations Implementing

 the Tel. Consumer Prot. Act of 1991, CG Docket No. 02–278, WC Docket No.

 07–135, FCC 15–72, 2015 WL 4387780, at *26 ¶ 73 (FCC July 10, 2015) [Emphasis

 added].

       55. Plaintiff is a customary user of the called telephone lines, is the one that

 was the actual recipient of the telephone calls at issue in this complaint, and suffered


                                            21
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1013 Filed 02/22/23 Page 22 of 80




 the nuisance and invasion of privacy of same. Thus, Plaintiff has standing to bring

 this action for alleged violations of TCPA’s robocall provisions. See Leyse v. Bank

 of America Nat. Ass'n, 804 F.3d 316, 324 (C.A.3, 2015).

       56. At no time relevant hereto has Plaintiff or any other authorized person

 requested, consented, permitted, or authorized the contact from the Defendant.

       57. At no time has Plaintiff provided permission to the Defendant to engage

 in telephone solicitation with the Plaintiff via telephone.

       58. Pursuant to 47 U.S.C. § 217, the act, omission, or failure of any officer,

 agent, or other person acting for or employed by an common carrier or user, acting

 within the scope of his employment, shall in every case also be deemed to be the act,

 omission, or failure of such carrier or user as well as that of the person.

       59.    Courts are legally bound to give great deference to the FCC’s

 interpretations of the TCPA and its own regulations.

       60. The FCC has clarified that sellers may be held vicariously liable for

 violations of the TCPA by third-party telemarketers that initiate calls to market the

 seller’s products or services, declaring as follows:

              “[A] company on whose behalf a telephone solicitation is
              made bears the responsibility for any violation of our
              telemarketing rules and calls placed by a third party on
              behalf of that company are treated as if the company itself
              placed the call.”


                                            22
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1014 Filed 02/22/23 Page 23 of 80




 In re Rules and Regulations Implementing the Telephone Consumer Protection Act

 of 1991, Declaratory Ruling, 20 FCC Rcd 13664, 13667, ¶ 7 (2005).

       61. When considering individual corporate officer liability, other Courts have

 agreed that a corporate officer involved in the telemarketing at issue may be

 personally liable under the TCPA. See, e.g., Jackson Five Star Catering, Inc. v.

 Beason, No. 10-10010, 2013 U.S. Dist. LEXIS 155985, *10 (E.D. Mich. Nov. 8,

 2013) (“[M]any courts have held that corporate actors can be individually liable for

 violating the TCPA where they had direct, personal participating in or personally

 authorized the conduct found to have violated the statute.”) (internal citation

 omitted); Maryland v. Universal Elections, 787 F. Supp. 2d 408, 415-16 (D.MD.

 2011) (“If an individual acting on behalf of a corporation could avoid individual

 liability, the TCPA would lose much of its force.”).

       62. It is well settled under Michigan law that corporate employees and officials

 are personally liable for all tortious and criminal acts in which they participate,

 regardless of whether they are acting on their own behalf or on behalf of a

 corporation. A corporate officer or director is, in general, personally liable for all

 torts which he authorizes or directs or in which he participates, notwithstanding that

 he acted as an agent for the corporation and not on his own behalf.

       63. For each and every call alleged herein initiated to Plaintiff’s telephone line,


                                            23
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1015 Filed 02/22/23 Page 24 of 80




 Plaintiff suffered the injury of invasion of privacy and intrusion on Plaintiff’s right

 of seclusion.

        64. For each and every call alleged herein initiated to Plaintiff’s telephone line,

 Plaintiff suffered the injury of the occupation of the telephone line by unwelcome

 calls, making the phone unavailable for legitimate callers or outgoing calls, including

 emergency calls, when the telephone line was seized by Defendant’s calls.

        65. For each and every call alleged herein initiated to Plaintiff’s telephone line,

 Defendants caused an injury in the form of a nuisance and annoyance to the Plaintiff.

 For calls that were answered, Plaintiff had to go to the unnecessary trouble of

 answering them. Even for unanswered calls, Plaintiff had to deal with missed call

 notifications and call logs that reflected the unwanted calls. This also impaired the

 usefulness of these features on Plaintiff’s telephone, which features are designed to

 inform the user of important missed communications.

        66. Each and every call placed without consent by Defendants alleged herein

 to Plaintiff’s telephone lines resulted in the injury of a trespass to Plaintiff’s chattel,

 namely Plaintiff’s telephone line and its telephone services.

        67. For purposes of the TCPA, the FCC has defined “willfully or knowingly”

 to mean that the violator knew that he was doing the act in question, in this case,

 initiating a telephone solicitation, irrespective of any intent to violate the law. A


                                             24
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1016 Filed 02/22/23 Page 25 of 80




 violator need not know that his action or inaction constitutes a violation; ignorance

 of the law is not a defense or mitigating circumstance.

                       Allegations Specific to this Complaint

       68. Defendant FFL is in the business of distributing life insurance.

       69. FFL uses a multi-level marketing scheme termed an “Insurance Marketing

 Organization” (“IMO”) that is well-established within the life insurance industry.

       70. Under this model, IMOs contract directly with insurance carriers who then

 provide life insurance products that are sold through the IMO.

       71. The IMO then employs independent contractors, commonly known as

 “agents” to who market and distribute the carrier’s insurance products to consumers.

 The IMO then assists by facilitating the entry of a contract between the IMO’s several

 insurance carriers and the agent so that t agent may market the carrier’s insurance

 products.

       72. As in a typical multi-level marketing scheme, agents can recruit other

 agents to become part of their selling organization at the IMO. The selling

 organization above or      beneath a particular agent is commonly referred to,

 respectively, as that agent’s “upline” or “downline.”

       73. An enrolled agent is eligible to earn commission’s through the IMO’s

 compensation plan for any insurance product that the agent sells, after the IMO first


                                           25
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1017 Filed 02/22/23 Page 26 of 80




 deducts its commission from the sale of the carrier’s products.

       74. The enrolled agent also earns commissions on insurance products sold by

 the enrolled agent’s “downline” agents.

       75. As part of its marketing program, FFL sells telemarketing “leads” to its

 agents of consumers.

       76. FFL represents to its agents that FFL is a superior IMO over others

 because it has access to “exclusive,” “fresh” leads that are “newly generated” and

 have “never been used.” Leads, according to FFL, are potential clients who are

 seeking insurance products.

       77. FFL sells these leads to its agents at a premium price. Agents will spend

 hundreds, if not thousands, of dollars purchasing the leads, believing them to be

 people in dire need of insurance who have yet to be contacted. Upon information and

 belief, FFL earns millions of dollars per week selling leads to its agents.

       78. In addition to telemarketing leads, FFL also provides its agents with access

 to automated telephone dialing platforms and services to facilitate telephoning

 consumers en masse to market the IMO’s insurance carriers’ products. These

 automated telephone dialing platforms use a random number or sequential number

 generator and have the capacity to call persons at random with no human

 involvement.


                                           26
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1018 Filed 02/22/23 Page 27 of 80




       79. FFL promotes telemarketing to its agents as being essential if the agents

 want to be successful in marketing FFL’s IMO’s insurance carriers’ products, and that

 the “high quality” leads supplied by FFL will facilitate the agent being successful.

       80. Defendant FFL is well aware that the automated telephone dialing

 platforms and telemarketing activities which it directs its agents to utilize are illegal

 and violate the TCPA, as Defendant FFL has been haled into various federal district

 courts by plaintiffs relative to said tortious activity.

       81. Additionally, is well aware of its involvement in illegal telemarketing as

 FFL has been the subject of numerous complaints to the Better Business Bureau and

 other consumer oriented agencies regarding the illegal telemarketing engaged in by

 FFL and its agents. Examples of such complaints appearing on the BBB web site

 include:




                                             27
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1019 Filed 02/22/23 Page 28 of 80




       82. Defendant FFL is well aware that the “high quality leads” which FFL foists

 upon its agents for money are of dubious quality and, certainly, not supported by any

 form of prior express written consent from any of the consumers, as FFL has been

 previously haled into various federal district courts relative to FFL’s fraudulent lead

 practices.

       83. Defendant FFL resells the same “exclusive”, “high quality” leads to

 multiple agents, knowingly allowing multiple agents to contact the same consumers

 to attempt to sell multiple insurance policies.

       84. The Federal Trade Commission (“FTC”) has issued a cease and desist

 demand to FFL after determining that FFL has engaged in making unlawful

 misrepresentations to its prospective agents regarding the FFL business opportunity.

 See EXHIBIT 1.

       85. Defendants United, Americo, and Western (collectively the “Insurance

 Companues”) are insurance companies engaged in providing insurance products to

 consumers across the United States, and relevant hereto, in particular to consumers

 in the state of Michigan.

       86. The Insurance Companies are insurance carriers who contract with FFL as

 part of this multi-level scheme.


                                           28
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1020 Filed 02/22/23 Page 29 of 80




       87. The Insurance Companies are each well aware that FFL and its agents

 engage in illegal telemarketing to sell their respective insurance products, but said

 defendants engage in willful blindness and disregard evidence of said illegal

 telemarketing as said defendants make substantial income resultant from the aforesaid

 illegal telemarketing activities.

       88. Indeed, each of the Insurance Companies lend support to the illegal

 telemarketing activities by giving the agents access to their respective computer

 systems for purposes of pricing data and entering prospective insureds’ application

 information, as well as the authority to use the company’s trademark and service

 market – all hallmarks of actual authority; and said defendants ratify the illegal

 telemarketing activities by accepting and processing the applications for insurance

 so received.

       89. Defendants Vongdara, Adams, Grant, Perez, Bonanno, Powell, Igweh, and

 Wickham (hereinafter the “Agents”) are each either employees or authorized agents

 of FFL and authorized agents for one or more of the Insurance Companies.

       90. Defendants YSC and Friedman are authorized agents for one of more of

 the Insurance Companies.

       91. As part of their overall telemarketing program, Defendant FFL and the

 Agents will outsource their outbound telemarketing to call centers utilizing automated


                                           29
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1021 Filed 02/22/23 Page 30 of 80




 telephone dialing systems to initiate telephone calls en masse to consumers to

 develop prospective buyers for the insurance products.

       92. The fact that many of telephone calls are placed using automated telephone

 dialing systems is indicated when calls are received with multi-second delays and/or

 a “boink” or clicking sound is heard before a live telemarketer comes on the line,

 when the call is simply dead air, and when the caller identification number display is

 “spoofed” or manipulated to display a false telephone number.

       93. These call centers are usually located outside the United States, typically

 in the Asian continent, and thus usually outside the reach of United States laws and

 law enforcement authorities.

       94. The call centers, in turn, hire individuals to act as lead generators – known

 in telemarketing parlance as “ropers” – to pre-qualify called consumers as to whether

 the consumer meets the qualification criteria for specific insurance products.

       95. The lead generator or “roper” will engage in deceptive and illegal

 techniques to solicit consumers, including, inter alia: manipulating the caller

 identification such that the caller cannot be easily identified or called back;

 identifying with a false or generic-sounding business name; deliberately calling

 telephone numbers which appear on the National Do Not Call Registry; refusing to

 provide identifying information to the called party upon inquiry; uttering profanities


                                           30
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1022 Filed 02/22/23 Page 31 of 80




 to or otherwise threatening or harassing the called party if the consumer does not

 cooperate by expressing interest or providing requested personal information or the

 called party requests not to be called.

       96.   Once a lead generator or “roper” has a consumer who meets the

 qualification criteria – referred to in telemarketing slang as the “mark” – the lead

 generator will then live transfer the call to an Agent who will then attempt to close

 the sale of the insurance product to the consumer. It is usually only late at this stage

 that a called party might learn any identifying information as to the source of the

 telephone call.

       97. FFL, the Agents, and the Insurance Companies all are well aware of the

 illegal tactics being used by their contracted call centers, but are deliberately

 indifferent to what is occurring so as to be able to represent that they are “unaware”

 of the illegal telemarketing conduct.

       98. In the past 12 months alone, Plaintiff has received well over 500 telephone

 calls from telemarketers who have falsified or “spoofed” their caller identification and

 who have identify as being with “Senior Benefits”, “American Benefits”, “Medicare

 Benefits” or similar generic sounding names, and during which call where Plaintiff

 was unable to develop the true identify of the ultimately responsible seller.

       99. Because the telemarketers engage in such deceptive practices designed to


                                            31
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1023 Filed 02/22/23 Page 32 of 80




 conceal their actual identities, Plaintiff has had to engage in various investigative

 techniques to identify the sources of the telemarketing calls being received.

       100. One investigative technique utilized by Plaintiff is termed a “canary trap”,

 wherein Plaintiff provides false, but unique, identifying information during each

 received call, in particular a unique name. If and when that unique information

 surfaces at a later date, a tie-in between the two events, and hence the ability to

 identify the source call, is able to be made.

       101. As discovery progresses in this case and Plaintiff is able to learn the

 identity or identities of the call centers that Defendants have utilized to initiate the

 telephone solicitations, Plaintiff will seek to amend this complaint to add the call

 centers as additional named defendants.

                                     Call Number 1

       102. On July 30, 2021, at approximately 6:47 P.M., Defendants or Defendants’

 agent initiated a call to Plaintiff’s residential telephone line ***-***-2424.

       103. The caller identification number displayed was 734-419-5984 and the

 caller identification name displayed was WAYNE MI.

       104. Upon answering the telephone line, Plaintiff observed a 4-5 second delay

 after saying “hello” before a live telemarketer who identified himself as “John with

 American Senior Benefits” came onto the line.


                                            32
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1024 Filed 02/22/23 Page 33 of 80




       105. “John” then proceeded to pre-qualify Plaintiff for a life insurance policy

 and sought personal information from Plaintiff. “John” already knew Plaintiff’s name

 (Mark Dobronski).

       106. The call was then transferred to an individual who identified himself as

 “Ryan Hensen... a licensed insurance agent in the state of Michigan.”

       107. “Ryan” then attempted to sell Plaintiff a $20,000 life insurance policy

 issued by United for a premium of $131.00 per month.

       108. “Ryan” then sought Plaintiff’s address, date of birth, medical information,

 driver’s license number, and social security number, to which Plaintiff provided

 controlled (false) information.

       109. The call was then transferred to a female telemarketer who identified

 herself as “Vanina Martin” with “Mutual of Omaha”.

       110. “Vanina” then went over the information that Plaintiff had provided to

 “Ryan” earlier. “Vanina” referred to “Ryan” as “Isaac.”

       111. “Vanina” sought an email address for Plaintiff, to which Plaintiff

 provided a controlled email address.

       112. Immediately after the termination of the telephone call, Plaintiff dialed

 back the caller identification number displayed (734-419-5984) and received a

 recording that the telephone number was disconnected.


                                          33
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1025 Filed 02/22/23 Page 34 of 80




         113. On July 30, 2021, at 7:37 P.M., Plaintiff received an email at the

 controlled email address from a Vanina Bonanno which included an application for

 life insurance with United. The application had been pre-filled with the controlled

 information which Plaintiff had provided during Call Number 1, supra.

                                    Call Number 2

         114.   On August 3, 2021, at approximately 7:02 P.M., Defendants or

 Defendants’ agent initiated a call to Plaintiff’s residential telephone line ***-***-

 2424.

         115. The caller identification number displayed was 734-434-2391 and the

 caller identification name displayed was WILLIAM PARTY.

         116. Upon answering the call, Plaintiff observed a 4-5 second delay after

 saying “hello” when a male voice came on and asked “Hey Mark, how you doing?”

         117. Plaintiff asked who was calling and the caller identified himself as

 “Isaac.”

         118. Despite Plaintiff inquiring, “Isaac” would not identify what company he

 was calling on behalf of.

         119. “Isaac” made reference to the life insurance policy which Plaintiff had

 purchased “last week” and then transferred the call to “Vanina”.

         120. “Vanina” then went over the life insurance application which had been


                                           34
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1026 Filed 02/22/23 Page 35 of 80




 emailed to Plaintiff the previous week.

       121. Plaintiff then confronted “Vanina” regarding the source of the calls, to

 which “Vanina” indicated that the calls were from “their call center” and their job was

 to screen calls and forward them to “Vanina.”

       122. Upon the termination of the telephone call, Plaintiff dialed the caller

 identification number displayed (734-434-2391). The call was answered “Williams

 Party Store”, which is a small mom-and-pop party store located in Ypsilanti,

 Michigan. Plaintiff inquired of the person answering whether anyone had called

 Plaintiff soliciting life insurance to which the person answering stated that they were

 the only person working at the store and nobody had used the telephone.

                                    Call Number 3

       123. On April 9, 2022, at approximately 1:03 P.M., Defendants or Defendants’

 agent initiatied a call to Plaintiff’s residential telephone line ***-***-1212.

       124. The caller identification number displayed was 734-899-2113.

       125. A recorded message from “Brad from U.S. Benefits” was heard which

 recorded message sought Plaintiff to respond with his age. Plaintiff responded “67".

       126. The was then transferred to a live telemarketer who began pre-qualifying

 Plaintiff. Plaintiff provided the name “Arthur Heaton” to the caller.

       127. After the termination of the call, Plaintiff dialed telephone number 734-


                                           35
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1027 Filed 02/22/23 Page 36 of 80




 899-2113, which simply rang and was not answered.

                                      Call Number 4

         128.   On April 11, 2022, at approximately 5:43 P.M., Defendants or

 Defendants’ agent initiated a call to Plaintiff’s residential telephone number ***-***-

 1212.

         129. The caller identification number displayed was 734-420-1658 and the

 caller identification name displayed was PLYMOUTH MI.

         130. Upon answering the call, Plaintiff observed a 4-5 second delay after

 Plaintiff said “hello”, at which time a live telemarketer who identified himself as

 “John with Life Benefits” came on the line. The telemarketer then asked for

 identifying information. Plaintiff provided the name “Derrick Simpson”.

         131. The call was then transferred to a female who stated that she was a

 “licensed agent” licensed in Michigan, her name was Anna Siago, her call back

 telephone number was 904-572-1050, and she was an agent for United. Amongst the

 information sought by Siago was an email address for “Derrick Simpson”, to which

 Plaintiff provided a controlled email address.

         132. Siago then quoted for and qualified “Derrick Simpson” for a $30,000 life

 insurance policy.

         133. At the conclusion of the call, Plaintiff dialed back the caller identifcation


                                             36
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1028 Filed 02/22/23 Page 37 of 80




 number displayed (734-420-1658) and received a recording that the number was

 disconnected.

         134. On April 11, 2022, at 7:05 P.M., Plaintiff received an email addressed to

 Derrick Simpson from Kohnsavan Vongdara forwarding an United individual life

 insurance application for “Derrick Simpson.” The information contained in the

 application included the personal identifying information supplied by Plaintiff to

 Siago during the course of Call Number 2. The application purports to show the

 signature of “Derrick Simpson” and includes a certification by Vongdara that he “read

 and explained the terms” to “Derrick Simpson.”

         135. Despite diligent search, Plaintiff has been unable to identify any female

 with the surname “Siago” who is a licensed insurance agent anywhere in the United

 States and specifically none licensed in Michigan.

         136. During the course of discovery, should Plaintiff discover the true identity

 of “Anna Siago”, Plaintiff intends to amend this Complaint to include Siago as an

 additional defendant.

                                     Call Number 5

         137.   On April 12, 2022, at approximately 3:42 P.M., Defendants or

 Defendants’ agent initiated a call to Plaintiff’s residential telephone number ***-***-

 1212.


                                            37
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1029 Filed 02/22/23 Page 38 of 80




        138. The caller identification number displayed was 734-420-1559 and the

 caller identification name displayed was PLYMOUTH MI.

        139. Upon answering the telephone, there was a “boink” sound followed by

 a 4-5 second delay before a live telemarketer came on to the line and identified

 himself as “Benjamin with Senior Benefits.”

        140. “Benjamin” asked to speak with “Mr. Simpson.”

        141.   Benjamin sought personal identifying information from Plaintiff,

 including age, date of birth, and address. Benjamin asked Plaintiff to verify that his

 first name was Derrick.

        142. The call was then transferred to a female telemarketer who identified

 herself as Olivia Perez, stated that she was a licensed insurance agent, and that she

 worked for FFL. Perez then attempted to sell Plaintiff a life insurance policy with

 Americo and another with United. Perez provided her telephone number as 904-572-

 1050, which is a disconnected telephone number.

        143. During the call, Plaintiff inquired about the “guy at the beginning of the

 call who spoke poor English”, to which Perez explained that the male was “our lead

 generation specialist... his job is to transfer the call to [her].”

        144. At the conclusion of the call, Plaintiff dialed back telephone number 734-

 420-1559 and received a recording that the number was disconnected.


                                              38
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1030 Filed 02/22/23 Page 39 of 80




                                     Call Number 6

         145.   On April 19, 2022, at approximately 10:37 A.M., Defendants or

 Defendants’ agent initiated a call to Plaintiff’s residential telephone line ***-***-

 1212.

         146. The caller identification number displayed was 904-453-8842.

         147. Upon answering the telephone line there was a 5-6 second delay before

 a female telemarketer came onto the line and identified herself as “Olivia” with

 “Family First Life” and asked for “Arthur Heaton.”

         148. During the call, Olivia identified herself as Olivia Perez, and wanted to

 review a $20,000 life insurance policy.

                                     Call Number 7

         149. On May 26, 2022, at approximately 11:41 A.M., Defendant or

 Defendants’ agent initiated a call to Plaintiff’s residential telephone line ***-***-

 1000.

         150. The caller identification number displayed was 734-911-9748, which is

 an invalid telephone number.

         151. Upon answering the telephone line there was a 5-6 second delay before

 a telemarketer came onto the line and identified himself as Mark.

         152. The telemarketer asked pre-qualifying questions, including seeking the


                                            39
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1031 Filed 02/22/23 Page 40 of 80




 called party’s name, to which Plaintiff responded with the name “Alexander Burke.”

       153. The call was then transferred to a female telemarketer who identified

 herself as being Vanessa Powell with FFL First Life. Plaintiff was able to elicit the

 following information from Powell, inter alia: her insurance producer number is

 19739892, and her cell phone is 760-617-8812. Powell then pitched to Plaintiff an

 “indexed universal life policy” with United in the amount of $50,000.00.

       154. On May 26, 2022, at 12:12 P.M., Plaintiff received an email to Plaintiff’s

 controlled email addressed to Alexander Burke from Powell which included a

 completed application for life insurance in the name of “Alexander Burke” from

 United.

                                    Call Number 8

       155. On May 31, 2022, at approximately 5:23 P.M., Defendant or Defendants’

 agent initiated a call to Plaintiff’s residential telephone line ***-***-1212.

       156. The caller identification number displayed was 734-499-0082, and the

 caller identification name displayed was “V5311705900022".

       157. Upon answering the line, Plaintiff observed a 4-5 second delay, a click,

 and then a live telemarketer introduced himself as “Zack” with “Senior Benefits.”

       158. Zack then engaged in pre-qualifying Plaintiff for life insurance. Amongs

 personal information requested by Zack, Plaintiff provided a “canary trap” name of


                                           40
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1032 Filed 02/22/23 Page 41 of 80




 “David McAfree”.

         159. The call was then transferred to a licensed agent who identified herself

 as “Olivia Perez” of “Family First Life” and located in Jacksonville, Florida.

         160. Perez attempted to sell Plaintiff a $$20,000 life insurance policy from

 Americo.

         161. Perez provided her call back number as 904-453-8842, which was later

 determined to be a non-working telephone number.

         162. During the call, Plaintiff confronted Perez regarding the telemarketer who

 identified himself as Zack who initiated the call, to which Perez responded that the

 telemarketer works for her company from one of two transfer centers, one located in

 Pakistan and the other in the Phillipines, and that they utilize a database of all people

 over the age of 65 and randomly call the telephone numbers of those people.

         163. Immediately after the termination of the call, Plaintiff dialed the caller

 identification number displayed (734-499-0082), which was a non-working telephone

 number.

                                     Call Number 9

         164.   On June 1, 2022, at approximately 10:33 A.M., Defendants or

 Defendants’ agent initiated a call to Plaintiff’s residential telephone line ***-***-

 1212.


                                            41
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1033 Filed 02/22/23 Page 42 of 80




         165. The caller identification number displayed was 904-453-8842 and the

 caller identification name displayed was NO NAME.

         166. Upon answering the telephone line, the telemarketer asked for “Mr.

 McAfree” and identified herself as “Olivia” with “Family First Life.”

         167. Olivia advised that “Mr. McAfree” had been approved for a $20,000

 triple indemnity death insurance policy with Americo.

         168. Immediately after the termination of the call, Plaintiff dialed the caller

 identification number displayed (904-453-8842), which was a non-working telephone

 number.

         169. On or about June 2, 2022, Plaintiff was mailed a life insurance policy

 issued by Americo to the “canary trap” name of David McAfree. The copy of the

 application included therewith purports to show a signature of David McAfree which

 was allegedly witnessed by Vongdara on May 31, 2022 in Michigan.

                                    Call Number 10

         170.   On June 7, 2022, at approximately 12:17 P.M., Defendants or

 Defendants’ agent initiated a call to Plaintiff’s residential telephone line ***-***-

 1212.

         171. The caller identification number displayed was 734-420-1419 and the

 caller identification name displayed was PLYMOUTH MI.


                                            42
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1034 Filed 02/22/23 Page 43 of 80




       172. Upon answering the telephone, Plaintiff observed approximately a five

 (5) second delay before a live telemarketer came onto the line and identified himself

 as “James” with “Final Expense” and asked for “Derrick Simpson.”

       173. “James” then began to pre-qualify Plaintiff for life insurance.

       174. The call was then transferred to an individual who identified himself as

 “Chris Martin” with “Family First Life” who stated that he was a licensed insurance

 agent and continued to pre-qualify Plaintiff. Plaintiff inquired as to Martin’s license

 number, to which Martin provided the number “M6071217"; upon review the number

 appears to be false. Upon inquiry, Martin provided his telephone number as 304-512-

 0932; dialing back the number merely rings.

       175 The call was then transferred to an individual who identified himself as

 “Jacob Taylor” in the “Final Expense Department”, who then began quoting rates for

 a life insurance policy with Americo. Plaintiff inquired as to Taylor’s license

 number, to which Taylor responded 19247602; upon review the number appears to

 be false. Upon inquiry, Taylor also provided his telephone number as 304-449-6165.

       176. Upon termination of the call, Plaintiff dialed back the caller identification

 number display (734-420-1419), which was a disconnected number.

                                    Call Number 11

       177.    On June 16, 2022, at approximately 10:47 A.M., Defendants or


                                           43
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1035 Filed 02/22/23 Page 44 of 80




 Defendants’ agent initiated a call to Plaintiff’s residential telephone line ***-***-

 1212.

         178. The caller identification number displayed was 904-834-8363, and the

 caller identification name displayed was TECHNFL.

         179. Upon answering the call, the caller asked to speak with “David McAfree”

 and identified herself as Olivia Perez with Family First Life.

         180. Plaintiff confronted Perez regarding the numerous calls being received.

 Perez disclosed that her manager is Kohnsavan Vongdara, that they utilize third-party

 telemarketers located in Asian to transfer calls to Perez, and Perez added that she

 would make sure to place Plaintiff’s telephone number on their do-not-call list.

         181. Immediately after the termination of the call, Plaintiff dialed the caller

 identification number display (904-834-8363), the call merely rang and went

 unanswered.

                                    Call Number 12

         182.   On June 23, 2022, at approximately 4:05 P.M., Defendants or

 Defendants’ agent initiated a call to Plaintiff’s cellular telephone line ***-***-9671.

         183. The caller identification number displayed was 734-330-2168.

         184. Upon answering the call, there was a several second delay before a live

 telemarketer came onto the line and said “My name is James. How are you? “


                                            44
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1036 Filed 02/22/23 Page 45 of 80




         185. James then asked “Is this Mark?” and proceeded to ask Plaintiff several

 pre-qualifying questions.

         186. James then transferred the call to an individual who identified himself as

 “Elijah Wood” on the Final Expense Department.

         187. Wood then asked Plaintiff some more pre-qualifying questions and then

 asked Plaintiff to verify his name and address. Much to Plaintiff’s surprise, Wood

 Wood recited Plaintiff’s true name and true address and asked Plaintiff to verify

 same.

         188. Wood pressed for some additional personal identifying information from

 Plaintiff, including date of birth, Social Security Number, height, weight, and credit

 card number, to which Plaintiff provided controlled faux information.

         189. Wood then sold Plaintiff a $5,000 life insurance policy, with a monthy

 premium of $35.95, to be issued by Western.

         190. Wood represented that he was a licensed insurance agent.

         191. Wood provided his call back telephone number as 918-324-2152.

         192. Wood stated that he worked for “Family First Life.”

         193. Immediately after the termination of the call, Plaintiff dialed the caller

 identification number display (734-330-2168) and received a recorded message that

 the telephone number was not in service.


                                            45
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1037 Filed 02/22/23 Page 46 of 80




        194. Plaintiff then dialed the call back telephone number provided by Wood

 (918-324-2152) and received a recorded message that the telephone number was not

 in service.

        195. Plaintiff has searched the database of licensed insurance agents and has

 been unable to find any Elijah Wood licensed as an insurance agent or insurance

 solicitor in any state.

        196. On June 24, 2022, Western mailed a $5,000.00 life insurance policy to

 Plaintiff which policy included the “canary trap” information which Plaintiff had

 provided to Wood.

        197. The selling insurance broker for the life insurance policy is stated as

 Defendant Scheifele.

        198. The selling insurance agent for the life insurance policy is stated as

 Defendant Vongdara.

                                   Call Number 13

        199. On July 5, 2022, at approximately 1:15 P.M., Defendants or Defendants’

 agent initiated a call to Plaintiff’s residential telephone line ***-***-1212.

        200. The caller identification number displayed was 775-243-8735, and the

 caller identification name displayed was V70513155600006.

        201. Upon answering the call, Plaintiff heard an pre-recorded message that


                                           46
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1038 Filed 02/22/23 Page 47 of 80




 began “Hello. This is Patricia. I am calling from Senior Benefits. How are you?”.

 The recording then stated that a licensed agent was going to come onto the line and

 the transferred to lively piano music.

          202. After approximately 10 seconds of piano music, a boink sound was heard

 and then a live telemarketer who identied himself as “Michael with Final Expense”

 came onto the line and asked pre-qualifying questions. Amongst requested

 information, Plaintiff provided a “canary trap” name of Carlos Ramirez.

          203. The call was then transferred to another telemarketer who identified

 himself as Donte Grant with Family First Life. Grant then attempted to qualify

 Plaintiff for a $20,000 life insurance policy

          204. During the course of the call, Plaintiff inquired of Grant as to who the

 person was that transferred the call to Grant. Grant identified the individual as

 “Dishon” who “works for [Grant’s] transfer company.”; Dishon transfers calls to

 Grant.

                                     Call Number 14

          205. On July 5, 2022, at approximately 4:10 P.M., Defendants or Defendants’

 agent initiated a call to Plaintiff’s residential telephone line ***-***-1212.

          206. The caller identification number displayed was 347-848-5898.

          207. Because Plaintiff was indisposed at the time, Plaintiff’s wife answered


                                            47
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1039 Filed 02/22/23 Page 48 of 80




 the call. The caller asked for Carlos Ramirez and the call then disconnected.

                                   Call Number 15

       208. On August 12, 2022, at approximately 1:16 P.M., Defendants or

 Defendants’ agent initiated a call to Plaintiff’s cellular telephone ***-***-9671.

       209. The caller identification number displayed was 734-228-7840.

       210. Upon answering the telephone call, Plaintiff observed a 6 second delay

 from the time of saying “hello” until a live telemarketer can onto the line and

 identified himself as “Sam” with “Senior Benefits.”

       211. Sam then began to ask pre-qualification questions of Plaintiff, to which

 Plaintiff provided a “canary trap” name of Bruce Petri.

       212. The call was then transferred to another telemarketer who identified

 himself as “Luke” who then went through an application process with Plaintiff. Upon

 inquiry, Luke supplied his call back telephone number as 760-580-0544. During the

 call, Luke stated that he worked for YSC. At the closing of the call, Luke stated that

 Plaintiff would receive his insurance policy through the U.S. Mail.

       213. Upon termination of the call, Plaintiff dialed the caller identification

 number displayed (734-228-7840) and received a recording that the “call did not go

 through.”




                                           48
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1040 Filed 02/22/23 Page 49 of 80




                                   Call Number 16

       214. On August 12, 2022, at approximately 2:35 P.M., Defendants or

 Defendants’ agent initiated a call to Plaintiff’s cellular telephone ***-***-9671.

       215. The caller identification number displayed was 734-228-7840.

       216. Upon answering the call, Plaintiff observed a 6 second delay from the

 time of saying “hello” before hearing a “boink” sound and then a live telemarketer

 came onto the line and identified himself as Mike Webster with Senior Benefits.

 Webster was promoting a final expense plan and began pre-qualifying Plaintiff.

 Webster asked Plaintiff his age and the amount of coverage desired. Of significant

 note, Webster did not ask for Plaintiff’s name at any time during this call. Webster

 then stated he was transferring the call to a licensed agent, at which point the call

 suddenly terminated.

                                   Call Number 17

       217. On August 12, 2022, at approximately 2:35 P.M., while Plaintiff was

 engaged in the call described as Call Number 16, supra, Defendants or Defendants’

 agent initiated a call to Plaintiff’s cellular telephone ***-***-9671.

       218. The caler identification number displayed was 734-228-7840.

       219. Because Plaintiff was already engaged at the time with Call Number 16,

 supra, this call was missed.


                                           49
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1041 Filed 02/22/23 Page 50 of 80




       220. The calling party did not allow the telephone to ring more than 3 times

 in order that Plaintiff’s voice mail system could answer and take a message.

                                    Call Number 18

       221. On August 13, 2022, at approximately 12:58 P.M., Defendants or

 Defendants’ agent initiated a call to Plaintiff’s cellular telephone line ***-***-9671.

       222. The caller identification number displayed was 734-330-2655.

       223. Upon answering the call, Plaintiff observed over a 6 second delay after

 saying “hello” before a live telemarketer identifying himself as “Kevin” calling

 regarding “new low cost final expense insurance plan” came onto the line.

       224. Kevin began pre-qualifying Plaintiff, and then stated that he was

 transferring the call to “the licensed agent” by the name of “Derrick”.

       225. A live telemarketer then came on the line and identified himself as “John

 Murphy” and represented that he was a licensed insurance agent. Murphy then

 sought personal information from Plaintiff, and Plaintiff provided a “canary trap”

 name of “Michael Xavier Overton”. The call suddenly disconnected.

       226. Immediately after the termination of the call, Plaintiff dialed the caller

 identification number displayed (734-330-2655) and received a recording that “the

 number you have dialed is unallocated.”




                                           50
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1042 Filed 02/22/23 Page 51 of 80




                                   Call Number 19

       227. On August 13, 2022, at approximately 1:08 P.M., Defendants or

 Defendants’ agent initiated a call to Plaintiff’s cellular telephone ***-***-9671.

       228. The caller identification number displayed was 734-330-2391.

       229. Upon answering the call, Plaintiff observed over 10 seconds of silence

 after saying “hello”, after which the telephone call disconnected.

       230. Immediately after the termination of the call, Plaintiff dialed the caller

 identification number displayed (734-330-2655) and received a recording that the

 number is not in service.

                                   Call Number 20

       231. On August 13, 2022, at approximately 1:09 P.M., Defendants or

 Defendants’ agent initiated a call to Plaintiff’s cellular telephone ***-***-9671.

       232. The caller identification number displayed was 734-330-2918.

       233. Upon answering the call, Plaintiff was again speaking with “John

 Murphy” who claimed there was some “technical issue.” Murphy continued to

 qualify Plaintiff for a $15,000 life insurance policy with Omaha.

       234. The call was then transferred to “Mr. Zion” who stated that he was in the

 Finance Department at Omaha. Zion sought Plaintiff’s banking information and

 advised that a life insurance policy was being issued by Omaha.


                                          51
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1043 Filed 02/22/23 Page 52 of 80




         235.   Immediately after the call terminated, Plaintiff dialed the caller

 identification number displayed (734-330-2918) and received a recording that “the

 number you have dialed is no longer in service.”

         236. On August 15, 2022, at 10:54 A.M., Plaintiff received an email addressed

 to Michael X. Overton from Khonsavan Vongdara which included an United

 application for individual life insurance with the unique “canary trap” personal

 information which Plaintiff had provided during the telephone calls on August 13,

 2022.

         237. The application included purported signatures by Michael X. Overton that

 were allegedly witnessed by Khonsavan Vongdara on August 15, 2022 at 2:54 P.M.

 G.M.T.

                                    Call Number 21

         238. On August 15, 2022, at approximately 11:00 A.M., Defendants or

 Defendants’ agent initiated a call to Plaintiff’s cellular telephone ***-***-9671.

         239. The caller identification number displayed was 734-228-7840.

         240. Upon answering the call, Plaintiff observed a 4-5 second delay after

 saying hello, a click, and then a live telemarketer identified himself as “Roy Jackson

 with American Benefits.” Jackson asked to speak with Bruce Petri and began asking

 pre-qualifying questions for life insurance.


                                           52
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1044 Filed 02/22/23 Page 53 of 80




       241. The call was then transferred to a live telemarketer who identified herself

 as “Shannon Adams.” Adams stated that she works for Family First Life. Adams

 attempted to sell Plaintiff a life insurance policy issued by Americo.

                                    Call Number 22

       242. On August 16, 2022, at approximately 11:06 A.M., Defendants or

 Defendants’ agent initiated a call to Plaintiff’s cellular telephone ***-***-9671.

       243. The caller identification number displayed was 984-282-3407.

       244. Upon answering the call, Plaintiff observed a 4-5 second delay after

 saying “hello”, a click, and then a telemarketer identified himself as Mike Webster.

 Webster stated that he had spoken with Plaintiff approximately three weeks

 previously and was following up on Plaintiff’s need for life insurance. Webster then

 began confirming information that he had, including referencing the “canary trap”

 name of “Bruce Petri” and the identical identifying particulars which Plaintiff had

 originally provided to another caller for the first time on August 12, 2022 during the

 course of Call Number 13, supra.

       245. Webster then transferred the call to another telemarketer who identified

 himself as Dario Wickham, a licensed insurance agent. Wickham then attempted to

 sell a $10,000 life insurance policy to Plaintiff.

       246. Upon termination of the telephone call, Plaintiff dialed the caller


                                            53
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1045 Filed 02/22/23 Page 54 of 80




 identification number displayed (984-282-3407) and received a recording that the

 number was invalid.

                                   Call Number 23

       247. On August 15, 2022, at approximately 11:00 A.M., Defendants or

 Defendants’ agent initiated a call to Plaintiff’s cellular telephone ***-***-9671.

       248. The caller identification number displayed was 734-228-7840.

       249. Upon answering the call, Plaintiff observed a 3-4 second delay after

 saying “hello”, a click, and then a live telemarketer identified himself as “Roy

 Jackson with American Benefits.” Jackson asked to speak with Bruce Petri and began

 asking pre-qualifying questions for life insurance.

       250. The call was then transferred to a live telemarketer who identified herself

 as “Shannon Adams.” Adams stated that she works for Family First Life. Adams

 attempted to sell Plaintiff a life insurance policy issued by Americo.

       251. On August 16, 2022, at 11:57 A.M., Plaintiff received an email addressed

 to Bruce Petri from Americo which included a copy of a $15,000 life insurance policy

 issued to Bruce Petri. The policy lists the agent as being Shannon Adams.

                                   Call Number 24

       252.   On August 24, 2022, at approximately 6:36 P.M., Defendants or

 Defnedants’ agent initiated a call to Plaintiff’s residential telephone line ***-***-


                                          54
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1046 Filed 02/22/23 Page 55 of 80




 1212.

           253. The caller identification number displayed was 734-420-1763, and the

 caller identification name displayed was PLYMOUTH MI.

           254. Upon answering the telephone, Plaintiff observed a 5-6 second delay

 because a live telemarketer came onto the line and identified herself as “Emma” with

 “U.S. Life Benefits”.

           255. Emma then began to pre-qualify Plaintiff for a “new low cost final

 expense life insurance policy which has just recently been approved in [Plaintiff’s]

 state.”

           256. The call was then transferred to an individual identifying himself as

 “Chris” the “senior guy”. Chris continued qualifying Plaintiff for a $5,000 life

 insurance policy and sought personal identifying information. Plaintiff provided a

 “canary trap” name of Dennis Xavier Curtis.

           257. The call was then transferred to an individual identifying himself as “Zion

 Aydin” with United. This is the same individual who is referenced in Paragraph 164,

 supra, as “Mr. Zion”. Zion attempted to convince Plaintiff to up the insurance policy

 to $10,000, and then took Plaintiff’s checking account information. The call

 concluded with Zion informing Plaintiff that the policy would be sent via email.

           258. Upon termination of the call, Plaintiff dialed the caller identification


                                              55
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1047 Filed 02/22/23 Page 56 of 80




 number displayed (734-420-1763), which was a disconnected number.

                                    Call Number 25

       259. On October 15, 2022, at approximately12:05 P.M., Defendants or

 Defendants’ agent initiated a telephone call to Plaintiff’s cellular telephone line (***-

 ***-9671).

       260. The caller identification number displayed was 267-900-7938.

       261. Upon answering the telephone, Plaintiff observed a 5-6 second delay

 because a live telemarketer came onto the line and identified herself as “Chris Ryan”

 with the “Final Expense Department.”

       262. Ryan asked to speak with “Michael Overton” and stated that he was

 following up on the $15,000 life insurance policy which Plaintiff had recently

 purchased through Omaha.

       263. Ryan stated, as a result of Omaha having “sent a paper” inquiring about

 Plaintiff’s medical conditions, Ryan was switching Plaintiff from life insurance with

 Omaha and, instead, issuing a policy with Aetna.

       264. Ryan then recited to Plaintiff the faux Social Security Number and

 address – which were part of the “canary trap” information supplied by Plaintiff

 during Call Number 20, supra – and asked for Plaintiff to confirm the information.

       265. Ryan stated that Plaintiff would be contacted back in approximately 24


                                            56
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1048 Filed 02/22/23 Page 57 of 80




 hours to confirm the change in policies.

       266. Plaintiff did not hear back from Ryan, as promised. Accordingly, on

 October 17, 2022, at approximately 11:32 A.M., Plaintiff dialed the telephone number

 appearing in the caller identification (267-900-7938) which call was answered by the

 same person that had identified himself in Call Number 25 as “Chris Ryan.”

       267. During this call, Ryan disclosed that he did not call Plaintiff back

 because, when Ryan contacted Aetna, Aetna informed Ryan that Plaintiff’s telephone

 number was listed on the National Do Not Call Registry and that Aetna did not want

 to issue a policy to Plaintiff for that reason.

       268. Ryan stated that he is a licensed insurance agent in 40 states.

       269. Plaintiff inquired of Ryan as to his insurance agent National Producer

 Number and location and Ryan refused to provide the information.

       270. Ryan hung up on Plaintiff.

       271. Based upon Plaintiff’s investigation, Plaintiff reasonably believes that

 Ryan is not licensed as an insurance agent or solicitor or similar capacity.

                                     Call Number 26

       272. On October 28, 2022, at approximately 11:01 A.M., Defendants or

 Defendants’ agent initiated a call to Plaintiff’s cellular telephone line ***-***-9671.

       273. The caller identification number displayed was 586-326-6350.


                                             57
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1049 Filed 02/22/23 Page 58 of 80




       274. Upon answering the call, Plaintiff observed a 5 second delay after saying

 “hello”, then a click sound, and then an individual identified himself as “John

 Murphy” and asked to speak with “Michael Overton.”

       275. Murphy stated that he had previously spoken “tomorrow” (sic) with

 Plaintiff regarding a final expense policy, but that the agent was not available at that

 time, but the agent was now available. Murphy then attempted, several times, to

 transfer the call, then stated that he was unable to transfer the call to the agent due to

 a tornado that occurred “last night.”

       276. Upon termination of the call, Plaintiff dialed the caller identification

 number displayed (586-326-6350) and received a recorded message that “the call

 cannot be completed as dialed.”

                                     Call Number 27

       277. On October 28, 2022, at approximately 11:20 A.M., Defendants or

 Defendants’ agent initiated a call to Plaintiff’s cellular telephone line ***-***-9671.

       278. The caller identification number displayed was 314-763-3511.

       279. Upon answering the call, Plaintiff observed a 5 second delay after saying

 “hello”, then a click sound, and then an individual identified himself as “Mark

 Anderson with the Burial Insurance Department” and asked to speak with “Michael

 Overton.”

       280. Anderson stated he was reviewing Plaintiff’s final expense application

                                             58
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1050 Filed 02/22/23 Page 59 of 80




 and was wanted to verify Plaintiff’s address, which Plaintiff confirmed.

                                    Call Number 28

         281. On October 28, 2022, at approximately 11:56 A.M., Defendants or

 Defendants’ agent initiated a call to Plaintiff’s cellular telephone line ***-***-9671.

         282. The caller identification number displayed was 314-763-3511.

         283. Upon answering the call, the same “Mark Anderson” as in Call Number

 27 was on the line.

         284. Anderson stated that he was reviewing Plaintiff’s application for $15,000

 life insurance policy with Omaha and that the address provided by Plaintiff was

 coming up as a United States Post Office and that Omaha was now questioning the

 address.

         285. Plaintiff told Anderson that the address was correct.

         286. Plaintiff inquired of Anderson as to what company or agency he worked,

 and Anderson hung up.

                                    Call Number 29

         287.   On January 9, 2023, at approximately 2:54 P.M., Defendants or

 Defendants’ agent initiated a call to Plaintiff’s residential telephone line ***-***-

 0222.

         288. The caller identification number displayed was 407-760-7450 and the

 caller identification name displayed was “LEBRECHT NANCI”.

                                           59
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1051 Filed 02/22/23 Page 60 of 80




        289. Upon answering the call, Plaintiff observed a 5-6 second delay after he

 said hello, then heard a “boink” sound, and then a live telemarketer came on the line

 and identified himself as being “Alex” with “U.S. Benefit.”

        290. “Alex” then began to ask pre-qualifying questions for “a new low cost

 final expense plan just approved in your state.”

        291. The call was then transferred to the “Senior Supervisor” by the name of

 “Isaac.” Isaac sought further information from Plaintiff.

        292. Plaintiff engaged Isaac by using the “canary trap” investigative technique,

 and provide faux identifying information.

        293. The call was then transferred to “Paul” who stated that he was with

 “Family First Life.”

        294. “Paul” quoted Plaintiff a $20,000 life insurance policy with a monthly

 premium of $123.16 from Omaha.

        295. Plaintiff was able to obtain “Paul”’s name as being Paul Christle, that he

 was located in Palm Beach, Florida, and that his direct telephone number was 561-

 420-9620.

        296. Plaintiff confronted Christle regarding the “funny sounding” individuals

 that had called Plaintiff and transferred the call to Christle. Christle explained that

 the individuals work “in our one our call centers” and that “what they do all day is

 dial, dial, dial... and then transfer the calls to me.”

                                             60
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1052 Filed 02/22/23 Page 61 of 80




       297. On January 9, 2023, at 3:11 P.M., Plaintiff received an email from

 Christle with an Omaha application pre-filled with the information which Plaintiff

 had supplied to Christle during the telephone conversation.

       298. On January 9, 2023, at 3:22 P.M., while Plaintiff was engaged in the

 telephone conversation with Christle, a person or persons unknown, identifying

 themselves using the “canary trap” email address which Plaintiff had supplied to

 Christle during the telephone conversation, accessed the FTC’s National Do Not Call

 Registry (“NDCR”) database attempting to confirm the registration of Plaintiff’s

 residential telephone number ***-***-0222 on the NDCR.

       299. Immediately after the termination of the call, Plaintiff dialed the caller

 identification number (407-760-7450) displayed. The call was answered by an

 elderly-sounding female, who confirmed that she had not been on her telephone

 during the prior hour and that there was nobody at her home selling life insurance.

                                   Call Number 30

       300.   On January 9, 2023, at approximately 6:21 P.M., Defendants or

 Defendants’ agents initiated a telephone call to Plaintiff residential telephone line

 ***-***-0222.

       301. The caller identification number displayed was 407-710-0656, and the

 caller identification name displayed was V109182052000300.

       302. The numeric caller identification name displayed is characteristic of an

                                          61
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1053 Filed 02/22/23 Page 62 of 80




 automatic telephone dialing system being utilized.

         303. Upon answering the call, Plaintiff observed a delay of approximately 10

 seconds from the time of saying “hello” until a person cam onto the line and

 identified himself as “This is Hohn. How are you doing today? I am calling about

 a new final expense program.”

         304. John then asked Plaintiff some pre-qualifying questions.

         305. The call was then transferred to “Isaac... the senior supervisor.” “Isaac”

 is the same “Isaac” described in Call Number 26, supra, from approximately 3 hours

 earlier.

         306. Isaac continued to ask pre-qualifying questions.

         307. Isaac then attempted to transfer the call to a live agent, the line rang and

 was answered by an automated system stating “[y]our call has been forwarded to an

 automated voice messaging system. Five Six One Four Two....” and was suddenly cut

 off.

         308. Isaac came back onto the line and stated that the agent was busy and Paul

 would have to call Plaintiff back later.

         309. Plaintiff asked Isaac the name of the live agent, to which Isaac responded

 Paul.

         310. Given that the telephone number for Paul Christle in Call Number 26 also

 became with the same first 5 digits as were identified in the automated system, and

                                             62
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1054 Filed 02/22/23 Page 63 of 80




 coincidentally was also named Paul, Plaintiff reasonably believes “Paul” to be Paul

 Christle.

       311. Plaintiff pressed Isaac for more information, such as the company he

 worked for, and his location, and his telephone number, which Isaac stated he “is not

 allowed to give.”

       312. Upon termination of the call, Plaintiff dialed the caller identification

 number displayed (407-710-0656), which was a disconnected telephone number.

       313. Plaintiff has reason to believe, and does believe, that “Isaac” identified

 in Call Numbers 29 and 30, supra, is one and the same person as “Ryan Hensen”

 identified in Call Number 1, supra.

                                    Call Number 31

       314. On January 31, 2023, at approximately 10:42 A.M., Defendants or

 Defendants’ agent initiated a call to Plaintiff’s cellular telephone line ***-***-9671.

       315. The caller identification number displayed was 734-316-6293.

       316.    Upon answering the call by saying “hello”, Plaintiff observed

 approximately 5 seconds of silence, then a “boink” sound, followed by an individual

 coming on the line and identifying himself as “Max with Senior Benefits... calling

 about a new low cost final expense plan.”

       317. “Max” then asked pre-qualifying questions of Plaintiff. Plaintiff

 responded with “canary trap” information unique to the call.

                                           63
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1055 Filed 02/22/23 Page 64 of 80




       318. “Max” then stated that the licensed agent is busy and will call back in 5

 minutes.

       319. Plaintiff asked the name of the licensed agent, to which “Max” responded

 that her name was “Gretchen.”

       320. Immediately after termination of the call, Plaintiff dialed the caller

 identification number displayed (734-316-6293) and received a reorder tone.

                                    Call Number 32

       321. On January 31, 2023, at approximately 11:33 A.M., Defendants or

 Defendants’ agents initiated a call to Plaintiff’s cellular telephone line ***-***-9671.

       322. The caller identification number display was 734-559-7673.

       323. Upon answering the call, Plaintiff observed a several second delay from

 the time of saying “hello” until a telemarketer came on the line and identified himself

 as “James with U.S. Life... calling regarding a final expense plan.”

       324. James stated that he had a licensed agent named “Gretchen” holding on

 the line and that he was going to transfer the call, but he first had some questions, and

 then proceeded to asked several pre-qualifying questions.

       325. The call was then transferred to a female who identified herself as

 Gretchen Drouhard with Family First Life.

       326. Drouhard then attempted to sell Plaintiff a $30,000 life insurance policy

 with a monthly premimum of $183.00 from Omaha.

                                            64
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1056 Filed 02/22/23 Page 65 of 80




       327. Drouhard when through asking Plaintiff detailed personal information

 and medical history questions.

       328. On January 31, 2023, at 12:21 P.M., Drouhard sent an Omaha life

 insurance application that was pre-filled with the personal information provided by

 Plaintiff during the telephone conversation to Plaintiff’s controlled email address.

       329. Immediately after termination of the call, Plaintiff dialed the caller

 identification number displayed (734-559-7673) and received a recorded message

 which stated “the telephone number is not in service.”

                                    Call Number 33

       330. On February 1, 2023, at approximately 2:26 P.M., Defendants or

 Defendants’ agent initiated a call to Plaintiff’s cellular telephone line ***-***-9671.

       331. The caller identification number display was 734-232-9681.

       332. Upon answering the call, Plaintiff observed a 5 second delay from the

 time of saying “hello”, then hard a “boink” sound, and then a telemarketer came on

 the line and identified himself as “John with Senior Benefits... calling regarding a

 final expense plan.”

       333. John began asking pre-qualifying questions, including age, whether

 plaintiff had a checking or savings account, zipcode, state of residence, beneficiary,

 and name.

       334. Plaintiff provided “canary trap” responses to “John”, including giving the

                                           65
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1057 Filed 02/22/23 Page 66 of 80




 faux name of Jason Robards.

       335. “John” then stated that Plaintiff was “perfectly qualified for final expense

 benefits” and live transferred the call to a licensed insurance agent who identified

 herself as Gretchen Drouhard – the same Gretchen Drouhard who attempted to sell

 Plaintiff a life insurance policy the day prior during Call Number 32, supra.

       336. As Drouhard began her telemarketing pitch, the call suddenly terminated.

       337. Immediately upon termination of the call, Plaintiff dialed the caller

 identification number displayed (734-232-9681), which turned out to be a telephone

 number for the Personnel Department at the University of Michigan Medical Center.

                                   Call Number 34

       338. On February 1, 2023, at approximately 2:30 P.M., Defendant Gretchen

 Drouhard initiated a call to Plaintiff’s cellular telephone line ***-***-9671.

       339. The caller identification number displayed was 316-833-1179.

       340.   Upon answering the call, Drouhard introduced herself again and

 explained that, for reasons unknown, the call had become disconnected.

       341. Plaintiff complained to Drouhard about the loud background noise and

 inability to understand the caller that transferred her call to Plaintiff, to which

 Drouhard explained that Family First Life uses call centers outside the USA.

       342. Drouhard again began her final expense life insurance sales pitch.

       343. Drouhard attempted to send her business card to Plaintiff’s cell phone

                                           66
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1058 Filed 02/22/23 Page 67 of 80




 number, but while doing so, Drouhard recognized that she had communicated with

 Plaintiff the day prior at the same telephone number.

       344. Plaintiff then confronted Drouhard with the fact that Plaintiff keeps

 receiving the calls marketing final expense insurance and wants to know the identity

 of the call center involved so that Plaintiff may demand that they stop calling.

       345. Drouhard refused to name the call center, told Plaintiff “good luck,” and

 the call terminated.

                             Call Numbers 35 through 51

       346. On the following dates and times, Plaintiff’s cellular telephone ***-***-

 9671 received the following telephone calls all showing the caller identification

 number of 734-228-7840:

              Call     Date       Time     Caller Supplied Identity
              35     03/04/2022 10:16 A.M. [Unintelligible], Medicare Benefits
              36     04/05/2022 1:03 PM    #
              37     04/06/2022 2:38 P.M. #
              38     04/05/2022 5:29 P.M. George, Medicare Benefits
              39     04/20/2022 3:53 P.M. Mario, Senior Benefits
              40     04/22/2022 4:40 P.M. #
              41     04/25/2022 1:58 P.M. Chris, Senior Benefits
              42     05/31/2022 3:13 P.M. #
              43     06/21/2022 1:59 P.M. #
              44     06/21/2022 2:10 P.M. #
              45     06/21/2022 4:32 P.M. Charles, Senior Care Benefits
              46     06/24/2022 12:08 P.M. “You stupid mother f***er....”
              47     06/24/2022 5:35 P.M. Max, Health Care Solutions
              48     07/05/2022 5:16 P.M. #
              49     07/06/2022 7:16 P.M. Leo, Senior Care
              50     07/06/2022 2:47 P.M. #

                                          67
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1059 Filed 02/22/23 Page 68 of 80




              51     07/14/2022 10:44 A.M. #
                           Notes: (#) Call answered, dead air.

       347. In the case of each dead air call denoted with an octothorpe (#) in

 paragraph 195, supra, the calling party did not provide any identification or

 disclosure as required by 47 C.F.R. § 64.1601(a)(7)(i).

                             Call Numbers 52 through 56

       348. On the following dates and times, Plaintiff’s residential telephone line

 ***-***-1212 received the following telephone calls all showing the caller

 identification number of 734-228-7840:

              Call     Date         Time      Caller Supplied Identity
              52     07/28/2022 4:00 P.M. Sam, U.S. Saving Center
              53     08/02/2022 4:54 P.M. *
              54     08/05/2022 1:40 P.M. *
              55     08/05/2022 1:41 P.M. *
              56     08/05/2022 3:27 P.M. *
                           Notes: (*) Missed call.

       349. In the case of each dead air call denoted with an asterisk (*) in paragraph

 197, supra, the calling party failed to allow the phone to ring at least three times in

 order that Plaintiff’s voice mail system might answer and take a message, as required

 by 47 C.F.R. § 64.1200(a)(6).

                                  Confrontation Calls

       350. As part of Plaintiff’s investigation into the telephone calls alleged herein,

 Plaintiff has engaged in several instances of making “confrontation” calls to one or


                                           68
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1060 Filed 02/22/23 Page 69 of 80




 more defendants and challenging said defendants regarding their involvement.

       351. On August 15, 2022, Plaintiff telephoned and spoke with Khonsavan

 Vongdara. Specifically, Plaintiff confronted Vongdara regarding the telephone call

 identified as Call Number 17 alleged at Paragraphs 158 through 163, supra, and Call

 Number 19 alleged at Paragraphs 168 through 173, supra. During the confrontation

 call, Vongdara represented that the persons identified as Kevin, John Murphy, and

 Mr. Zion were Vongdara’s employees. When Plaintiff told Vongdara that Plaintiff’s

 telephone numbers were on the national do not call registry, Vongdara assured

 Plaintiff that now that Plaintiff had purchased a life insurance policy, there would be

 no further calls. Plaintiff was clear and direct to Vongdara that Plaintiff did not want

 to receive telemarketing calls from any source. When Plaintiff asked Vongdara for

 a copy of his written do not call policy, Vongdara stated that he did not have one.

       352. On August 15, 2022, approximately one hour after Plaintiff had spoken

 with Vongdara, Plaintiff received a call on his cellular telephone (***-***-9671)

 from caller identification number 304-666-3436. The caller identified himself as

 Zion Aydin. Zion stated that his broker (Vongdara) had called him regarding Plaintiff

 having complained to Vongdara. Zion asked Plaintiff to “just forget about” the

 incident. Zion claimed that he had 2 children and that his bosses were mad at him.

 Zion then told an incredible story about a woman named “Helen” (whom Zion does

 not know the last name of) who controls his money and pays his bills. At one point,

                                            69
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1061 Filed 02/22/23 Page 70 of 80




 Zion claimed to live in West Virginia; then changed the location to Se-ah-till-ee

 (phonetic), Washington; then claimed to reside at 7601 Evergreen Way, in Everett,

 Washington (which address, upon investigation, is a Safeway grocery store).

       353. On August 15, 2022, Plaintiff spoke with Shannon Adams over the

 repetitive calls he was receiving. Adams assured Plaintiff that she would notify the

 call center to remove Plaintiff’s telephone numbers from any further contact.

       354. On August 16, 2022, Plaintiff received a call on his cellular telephone

 ***-***-9671 from caller identification number 817-703-5796. The calling party

 identified himself as Emmanuel, but did not provide his last name. Emmanuel stated

 that Shannon Adams worked for him, and that he and his unnamed partner had

 notified their call center to stop calling Plaintiff. Plaintiff was able to identify

 “Emmanuel” as being Emmanuel Igweh, whose insurance license information reflects

 his telephone number as 817-703-5796.

       355. On January 31, 2023, at approximately 8:23 P.M., Plaintiff called the

 caller identification number displayed (314-763-3511) during Call Numbers 27 and

 38, supra. Upon the call being answered, Plaintiff asked to speak with “Mark”. The

 called party stated that his name was “Mark.” The called party sounded identical to

 the “Mark Anderson” that spoke with Plaintiff during Call Numbers 27 and 28, supra.

 Plaintiff told “Mark” that Plaintiff was calling about a life insurance policy. “Mark”

 denied knowing anything about any life insurance policy.

                                           70
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1062 Filed 02/22/23 Page 71 of 80




                                  Additional Calls

       356. Over the past twelve (12) months alone, Plaintiff has received over 400

 telephone calls to his residential telephone lines ***-***-0222, ***-***-1000, ***-

 ***-1212 and/or ***-***-2424 and/or his cellular telephone ***-***-9671 wherein

 the calling party utilized a false or spoofed caller identification number, the

 telemarketer identified as being with “Senior Benefits” or similar generic and non-

 specific entity name, and wherein the telemarketer was attempting to pre-quality

 Plaintiff for “final expense” or life insurance. Through the course of discovery,

 Plaintiff intends to establish that many of these calls are related to the same

 defendants in this case, at which time Plaintiff will amend his claims against the

 defendants to include damages related to these additional calls.

                             COUNT I
             VIOLATION OF THE TCPA - AUTODIALER CALL

       357. Plaintiff incorporates the allegations of paragraphs 1 through 356, supra.

       358. Each of the following Calls: 12, 15 through 23, 25 through 28, 31 through

 33, and 35 through 51; were in violation of the TCPA and its implementing

 regulations, specifically 47 U.S.C. § 227(b)(1)(A)(iii) and 47 C.F.R. §

 64.1200(a)(1)(iii), as Defendant or Defendant’s agent initiated a telephone call to

 Plaintiff’s cellular telephone line using an automatic telephone dialing system

 without the prior express consent of the called party and there being no emergency.


                                          71
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1063 Filed 02/22/23 Page 72 of 80




       359. The aforesaid violations of the TCPA were wilful and/or knowing as is

 evidenced by the repeated number of calls.

                            COUNT II
         VIOLATION OF THE TCPA - RECORDED MESSAGECALL

       360. Plaintiff incorporates the allegations of paragraphs 1 through 356, supra.

       361. Each of the following Calls: 3 and 13; were in violation of the TCPA and

 its implementing regulations, specifically 47 U.S.C. § 227(b)(1)(B) and 47 C.F.R. §

 64.1200(a)(3), as Defendant or Defendant’s agent initiated a telephone call to

 Plaintiff’s residential telephone line using an artificial or prerecorded voice to deliver

 a message without the prior express written consent of the called party and there

 being no emergency.

       362. The aforesaid violations of the TCPA were wilful and/or knowing as is

 evidenced by the repeated number of calls.

                            COUNT III
            VIOLATION OF THE TCPA - PREMATURE HANG UP

       363. Plaintiff incorporates the allegations of paragraphs 1 through 356, supra.

       364. Each of the following Calls: 17, and 53 through 56; were in violation of

 the TCPA implementing regulations, specifically 47 C.F.R. § 64.1200(a)(6), as the

 call was disconnected prior to at least 15 seconds or four (4) rings.

       365. The aforesaid violations of the TCPA were wilful and/or knowing as is

 evidenced by the repeated number of calls.

                                             72
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1064 Filed 02/22/23 Page 73 of 80




                             COUNT IV
              VIOLATION OF THE TCPA - ABANDONED CALL

       366. Plaintiff incorporates the allegations of paragraphs 1 through 356, supra.

       364. Each of the following Calls: 1, 2, 4 through 8, 10, 12, 15, 16, 18, 19, 21

 through 27, and 29 through 33; were in violation of the TCPA implementing

 regulations, specifically 47 C.F.R. § 64.1200(a)(7), as the call was not connected to

 a live sales representative within two (2) seconds of the called person’s completed

 greeting.

       365. The aforesaid violations of the TCPA were wilful and/or knowing as is

 evidenced by the repeated number of calls.

                              COUNT V
                 VIOLATION OF THE TCPA - DO NOT CALL

       366. Plaintiff incorporates the allegations of paragraphs 1 through 356, supra.

       367. Each of the following Calls: 1 through 6, and 8 through 56; were in

 violation of the TCPA implementing regulations, specifically 47 C.F.R. §

 64.1200(c)(2), as Defendants or Defendants’ agent initiated a telephone solicitation

 to a residential telephone subscriber who has registered his telephone number on the

 national do-not-call registry of persons who do not wish to receive telephone

 solicitations that is maintained by the Federal Government.

       368. The aforesaid violations of the TCPA were wilful and/or knowing as is

 evidenced by the repeated number of calls.

                                          73
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1065 Filed 02/22/23 Page 74 of 80




                           COUNT VI
         VIOLATION OF THE TCPA - NO WRITTEN DNC POLICY

       369. Plaintiff incorporates the allegations of paragraphs 1 through 256, supra.

       370. Each of the following Calls: 1 through 56, inclusive; were in violation of

 the TCPA implementing regulations, specifically 47 C.F.R. § 64.1200(d)(1), as

 Defendants and/or Defendants’ agents failed to have a written do not call policy,

 available upon demand, for maintaining a do-not-call list.

       371. The aforesaid violations of the TCPA were wilful and/or knowing as is

 evidenced by the repeated number of calls.

                             COUNT VII
              VIOLATION OF THE TCPA - FAILURE TO TRAIN

       372. Plaintiff incorporates the allegations of paragraphs 1 through 356, supra.

       373. Each of the following Calls: 1 through 56, inclusive; were in violation of

 the TCPA implementing regulations, specifically 47 C.F.R. § 64.1200(d)(2), as

 Defendants and/or Defendants’ agents failed to inform and train their personnel

 engaged in any aspect of telemarketing in the existence and use of the do-not-call list.

       374. The aforesaid violations of the TCPA were wilful and/or knowing as is

 evidenced by the repeated number of calls.

                         COUNT VIII
   VIOLATION OF THE TCPA - FAILURE TO RECORD DNC REQUEST

       375. Plaintiff incorporates the allegations of paragraphs 1 through 356, supra.


                                            74
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1066 Filed 02/22/23 Page 75 of 80




       376. Each of the following Calls: 1 through 56, inclusive; were in violation of

 the TCPA implementing regulations, specifically 47 C.F.R. § 64.1200(d)(3), as

 Defendants and/or Defendants’ agents failed to record the requests made by Plaintiff

 not to receive calls from that person or entity.

       377. The aforesaid violations of the TCPA were wilful and/or knowing as is

 evidenced by the repeated number of calls.

                             COUNT IX
            VIOLATION OF THE TCPA - FAILURE TO IDENTIFY

       378. Plaintiff incorporates the allegations of paragraphs 1 through 356, supra.

       379. Each of the following Calls: 1 through 5, 7, 8, 10, 12, 13, 15, 16. 18

 through 33, and 35 through 52; were in violation of the TCPA implementing

 regulations, specifically 47 C.F.R. § 64.1200(d)(4), as Defendants and/or Defendants’

 agents making the calls for telemarketing purposes failed to provide the called party

 with the name of the individual caller, the name of the person or entity on whose

 behalf the call is being made, and/or a telephone number or address at which the

 person or entity may be contacted.

       380. The aforesaid violations of the TCPA were wilful and/or knowing as is

 evidenced by the repeated number of calls.

                             COUNT X
            VIOLATION OF THE TCPA - NO DO NOT CALL LIST

       381. Plaintiff incorporates the allegations of paragraphs 1 through 356, supra.

                                           75
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1067 Filed 02/22/23 Page 76 of 80




       382. Each of the following Calls: 1 through 56, inclusive; were in violation of

 the TCPA implementing regulations, specifically 47 C.F.R. § 64.1200(d)(6), as

 Defendants and/or Defendants’ agents making calls for telemarketing purposes failed

 to maintain a record of a consumer’s request not to receive further telemarketing calls.

       383. The aforesaid violations of the TCPA were wilful and/or knowing as is

 evidenced by the repeated number of calls.

                            COUNT XI
            VIOLATION OF THE TCPA - FALSIFIED CALLER ID

       384. Plaintiff incorporates the allegations of paragraphs 1 through 356, supra.

       385. Each of the following Calls: 1 through 5, 7, 8, 10, 13, 15 through 33, and

 35 through 51; were in violation of the TCPA implementing regulations, specifically

 47 C.F.R. § 64.1601 (e)(1), as Defendants and/or Defendants’ agents failed to provide

 caller identification information displaying a telephone number which would permit

 any individual to make a do-not-call request during regular business hours.

       386. The Defendants had to take deliberate and overt action to manipulate the

 telephone network equipment to provide false caller identification information,

 therefore the aforesaid violation of the TCPA was wilful and/or knowing.

                                COUNT XII
                         VIOLATION OF THE MTCCCA

       387. Plaintiff incorporates the allegations of paragraphs 1 through 356, supra.

       388. Each of the following Calls: 1 through 5, 7, 8, 10, 12, 15 through 21, 23,

                                            76
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1068 Filed 02/22/23 Page 77 of 80




 24, 26, 31 through 33, and 35 through 56; were in violation of the of the MTCCCA,

 specifically M.C.L. § 484.125(2)(a), as Defendants or Defendants’ agent used a

 telephone line to contact a subscriber at the subscriber’s residence to deliver a

 recorded message for the purpose of presenting commercial advertising and the

 subscriber having not requested, consented, permitted, or authorized the contact; or

 M.C.L. 484.125(2)(b), as Defendant or Defendant’s agent delivered or attempted to

 deliver intrastate commercial advertising having activated a feature to block the

 display of caller identification information that would otherwise be available to the

 subscriber.

                                  COUNT XIII
                            VIOLATION OF THE MHSSA

       389. Plaintiff incorporates the allegations of paragraphs 1 through 356, supra.

       390. Each of the following Calls: 1 through 56, inclusive; were in violation of

 the MHSSA, specifically M.C.L. § 445.111a(5), as Defendants or Defendants’ agent

 made a telephone solicitation to a residential telephone subscriber whose name and

 residential telephone number is on the federal do-not-call list; and/or M.C.L. §

 445.111b(1), as Defendants or Defendants’ agents did not at the beginning of the

 telephone solicitation state his or her name and the full name of the organization on

 whose behalf the call was initiated and provide a telephone number of the

 organization on request.


                                          77
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1069 Filed 02/22/23 Page 78 of 80




                              PRAYER FOR RELIEF

       WHEREFORE, the aforesaid premises considered, Plaintiff prays that this

 Court enter a judgment for Plaintiff and against the Defendants, jointly and severally,

 as follows:

       A.      Damages for violations of the TCPA alleged:

                           Count         Violations
                           I             34
                           II             2
                           III            5
                           IV            25
                           V             55
                           VI            56
                           VII           56
                           VIII          56
                           IX            34
                           X             56
                           XI            45

 A total of 424 violations at $500 per violation for damages of $212,000.00, which

 amount shall be trebled because the violations were willful and/or knowing, for total

 damages of $636,000.00.

       B. Damages for violations of the MTCCCA alleged at Count XII: 44 violations

 at $1,000 per violation for damages of $44,000.00.

       C. Damages for violations of the MHSSA alleged at Count XIII: 56 violations

 at $250 per violation for damages of $14,000.00.

 The cumulative total amount of damages claimed in this action is $694,000.00,and


                                           78
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1070 Filed 02/22/23 Page 79 of 80




 in the event of default judgment is the sum certain damages amount that will be

 sought.

       D. An award of Plaintiff’s taxable costs and disbursements incurred in the

 filing and prosecution of this action;

       E. An injunction enjoining Defendants from initiating any telephone calls to

 Plaintiff’s residential telephone and cellular telephone lines.

       F. Interest accruing from the date of filing until paid at the statutory rate; and,

       G. Such other and further relief as this Court deems necessary, reasonable,

 prudent and proper under the circumstances.

                                                 Respectfully submitted,




 Dated: February 22, 2023                        _______________________________
                                                 Mark W. Dobronski
                                                 Post Office Box 85547
                                                 Westland, Michigan 48185-0547
                                                 Telephone: (734) 330-9671
                                                 Email: markdobronski@yahoo.com
                                                 Plaintiff In Propria Persona




                                            79
Case 2:22-cv-12039-MAG-KGA ECF No. 99, PageID.1071 Filed 02/22/23 Page 80 of 80
